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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                     :
                                             :
               v.                            :      Case No. 21-cr-128 (RC)
                                             :
WILLIAM POPE,                                :
                                             :
                      Defendant.             :

GOVERNMENT’S MOTION FOR AN EXTENSION OF TIME TO OPPOSE WILLIAM
      POPE’S MOTION TO COMPEL ID AND PRODUCE DISCOVERY

       On February 12, 2024, William Pope filed a motion requesting this Court to compel the

“government to identify all FBI employees who were on Capitol Grounds, as well as all other local

law enforcement with whom John Guandolo had contact, and to produce all related discovery.”

ECF 212 at 20. Pursuant to Local Criminal Rule 47(b), the government’s opposition is due on

February 26, 2024. Additionally, Mr. Pope filed a motion on February 14, 2024 regarding his

ability to possess all January 6 exhibits received in evidence at hearings or trials. ECF 214. The

government’s response to that motion is due February 28, 2024.

       The government needs time to craft a proper and thoughtful response to both of Mr. Pope’s

motions. Accordingly, the government reached out to Mr. Pope to ask his position on an extension

of time to file its opposition. Specifically, the government requests that this Court grant the

government until March 14, 2024 to file its opposition to Mr. Pope’s Motion to Compel ID and

Produce Discovery (ECF 212). William Pope opposes. Mr. Pope has asked the government to

include the following language in the instant motion:

       Since I am likely to need time to review the discovery you produce on these FBI agents
       who were clapping and celebrating as people ran up the steps to the Capitol and who
       entered the government's alleged restricted area on both the east and west sides of the
       Capitol, and since this will likely lead to additional court filings, I have to oppose an
       extension of time for you to respond. We have only five months until trial is scheduled to
       begin, and there is still a lot that needs to be resolved before then. Furthermore, the
       government currently has three attorneys assigned to my case, including yourself, while I
       am only a single Pro Se defendant, so I don't understand why you need a full month to
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       properly respond. Lastly, the government still has not given me a copy of all discovery I
       am allowed by the protective order to possess (which the government promised the Court
       last April in ECF No. 104), so your delays are already significantly delaying and impeding
       my defense preparations. Any further delays will make a July trial date entirely
       unworkable. If you do not think you can keep these deadlines, motion to drop all my
       charges (or ask for three more prosecutors to be assigned to my case so you can keep up
       with a Pro Se), because these delays are compressing my defense preparations and
       circumventing my due process rights.

       The government respectfully asks that the Court grant an extension of time for the

government’s response to William Pope’s Motion to Compel ID and Produce Discovery (ECF

212). Specifically, the government is seeking to respond on or before March 14, 2024. The short

extension the government requests will not delay this matter.

                                             Respectfully submitted,

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